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     Attorneys for Defendant,
18                                     UNITED STATES DISTRICT COURT
19                                 EASTERN DISTRICT OF CALIFORNIA
20    MARISOL GOMEZ, on behalf of herself and        CASE NO. 1:15-cv-01489-JLT-BAM
21    others similarly situated,
                                                     CLASS ACTION
22                       Plaintiffs,
                                                     STIPULATION TO REMOVE MINIMUM
23            vs.                                    PAYMENT LANGUAGE FROM
                                                     SETTLEMENT AGREEMENT
24    J. JACOBO FARM LABOR CONTRACTOR,
      INC., and Does 1 through 20, inclusive,        Complaint Filed: September 30, 2015
25
                      Defendants.
26                                                   Before the Honorable Jennifer L. Thurston

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      STIPULATION TO MODIFY SETTLEMENT AGREEMENT                     CASE NO. 1:15-cv-01489-JLT-BAM
      Case 1:15-cv-01489-JLT-BAM Document 203 Filed 09/13/24 Page 2 of 4


 1         Plaintiff Marisol Gomez and Defendant J. Jacobo Farm Labor Contractor (collectively, “the

 2 Parties”) through their respective attorneys of record hereby stipulate and agree as follows in

 3 response to this Court’s Order dated September 9, 2024 (ECF 192):

 4         WHEREAS, the Parties reviewed the Court’s Order requesting Supplemental Briefing on

 5 several issues, including “whether the proposed settlement is fair and adequate for class members

 6 who will not receive any payment yet must release their claims against Defendant under the terms

 7 of the Settlement” (ECF 199);

 8         WHEREAS, the Parties met and conferred over the phone and over email regarding the

 9 minimum payment provided in Section III.E.3 of the Settlement Agreement;

10         WHEREAS, the Parties agreed to remove Section III.E.3 of the Settlement Agreement;

11         WHEREAS, the Parties agreed that the removal of Section III.E.3 of the Settlement

12 Agreement was not a material modification of the terms of the Settlement Agreement;

13         IT IS HEREBY STIPULATED, by and through their attorneys of record , to remove Section

14 III.E.3 from the proposed Settlement and further stipulate that the removal of Section III.E.3 does

15 not amount to a material modification of the Settlement.

16

17         IT IS SO STIPULATED.

18
19 DATED: September 13, 2024                                   MALLISON & MARTINEZ

20

21
                                                         By:   _/s/ _________________
                                                                    Caroline Hill
22                                                              Stan S. Mallison
                                                                Hector R. Martinez
23                                                              Caroline L. Hill
                                                                Attorneys for Plaintiff
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     STIPULATION TO MODIFY SETTLEMENT AGREEMENT                        CASE NO. 1:15-cv-01489-JLT-BAM
      Case 1:15-cv-01489-JLT-BAM Document 203 Filed 09/13/24 Page 3 of 4


 1                                               MARTÍNEZ, AGUILASOCHO, & LYNCH

 2
                                                 By:   _ /s/ Mario Martinez
                                                               _________________
 3                                                     Mario Martinez
                                                       Edgar I. Aguilasocho
 4
                                                       Attorneys for Plaintiff
 5

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 7
     DATED: September 13, 2024                         MIGLIAZZO LAW, PC
 8

 9
                                                         /s/ John Migliazzo
                                                 By:   _       ________________
10                                                     John L Migliazzo
                                                       Attorney for Defendant
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     STIPULATION TO MODIFY SETTLEMENT AGREEMENT                CASE NO. 1:15-cv-01489-JLT-BAM
      Case 1:15-cv-01489-JLT-BAM Document 203 Filed 09/13/24 Page 4 of 4


 1                                     [PROPOSED] ORDER
 2 Pursuant to the PARTIES’ STIPULATION AND GOOD CAUSE APPEARING THEREFORE:
 3        IT IS HEREBY ORDERED that:
 4
       1. The Settlement Agreement executed between the Parties is amended to remove Section
 5        III.E.3.
 6
 7     2. Removing Section III.E.3 does not materially modify the Settlement Agreement.

 8
 9
10        IT IS SO ORDERED

11
12 DATED: ____________________
                                                       Honorable Jennifer L. Thurston
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     STIPULATION TO MODIFY SETTLEMENT AGREEMENT                    CASE NO. 1:15-cv-01489-JLT-BAM
